 Case 11-65396-wlh        Doc 18    Filed 07/05/11 Entered 07/05/11 15:07:13            Desc Main
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     IT IS ORDERED as set forth below:




     Date: July 05, 2011
                                                 __________________________________________________
                                                                   Wendy L. Hagenau
                                                              U.S. Bankruptcy Court Judge
     _______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

       IN RE:                                      { CHAPTER 13
       JASON PATRICK                               {
                                                   { CASE NO. A11-65396-WLH
                DEBTOR                             {
                                                    { JUDGE HAGENAU


                  ORDER DISMISSING CASE FOR FAILURE TO COMPLY
                      WITH 11 U.S.C. §109(h) AND 11 U.S.C. §521(b)


       This matter came before the Court at a regularly scheduled hearing on June 29, 2011 at

10:15 a.m. on the Chapter 13 Trustee’s Motion to Dismiss Case for Failure to Comply with 11

U.S.C. § 109(h) and 11 U.S.C. § 521(b). It appears that Debtor is ineligible to be in Chapter 13

based on the fact that Debtor has failed to certify attendance at credit counseling from an approved

agency within 180 days prior to filing required under 11 U.S.C. §109(h) and 11 U.S.C. § 521(b).

Therefore, it is hereby
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        ORDERED, that the Trustee’s Motion is GRANTED and this case is DISMISSED. The

clerk is directed to serve this order on all parties in the case.

                                        END OF DOCUMENT
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Presented by:


/s/________________________
Melissa J. Davey
Chapter 13 Trustee
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                                  DISTIBUTION LIST


CASE NO. A11-65396-WLH

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                       (ALL CREDITORS LISTED ON MAILING MATRIX)
